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                  UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF COLORADO
IN RE:                          )
                                )
DIVERSIFIED RESOURCES INC.      )
                                )     Case No. 19-13627-EEB
                                )
                                )
BIYA RESOURCES INC.             )     Case No. 19-13628-JGR
                                )
                                )
                                )
NATURAL RESOURCE GROUP INC.     )     Case No. 19-13629-MER
                                )
Debtors.                        )     Chapter 11
                                )
                                )     Jointly Administered Under
                                )     Case No. 19- 13627-EEB
                                )

       DEBTORS’ COMBINED MOTION TO USE CASH COLLATERAL AND
REQUEST TO REDUCE NOTICE PERIOD TO TEN DAYS AND TO SET EXPEDITED
                           HEARING



       DIVERSIFIED RESOURCES INC., (“Diversified”) BIYA OPERATORS INC., (“BIYA”)

and NATURAL RESOURCE GROUP, INC., (“Natural Resource”) collectively referred to as (the

“Debtors”), by and through their counsel, Buechler Law Office, L.L.C., respectfully move this Court

for an order authorizing the use of cash collateral pursuant to 11 U.S.C. § 363(c)(2) and the rationale

articulated in Chaussee v. Morning Star Ranch Resorts Company, 64 B.R. 818, 825 (Bankr. D.Colo.

1986), to reduce the notice period for this Motion to ten days and to set this matter for a hearing

prior to May 15, 2019 as follows:

1.    The Debtors simultaneously filed for relief under Chapter 11 of Title 11 of the United States

Code (the “Bankruptcy Code”) on April 30, 2019 (the “Petition Date”) and are operating as a

Debtors-in-Possession.

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2.     These cases are being jointly administered pursuant to this Court’s Order of April 30, 2019

[Doc. No. 13].

BACKGROUND OF FILINGS:
3.     BIYA owns certain oil and gas leases in the States of New Mexico and on the Ute Mountain

Ute Indian Reservation and is the primary generator of production revenue for the Debtors, which

averages about $75,000 to $90,000 per month, net of transportation costs. Diversified, in addition to

its 98% ownership of BIYA, owns certain non-producing leases in the State of Colorado. Natural

Resources owns certain non-producing shallow well leases near Broomfield, Colorado.

4      Diversified provides administrative functions for all the Debtors. While BIYA, Natural

Resources and Diversified are operated and maintained as separate corporations, the three Debtors

enjoy common management, common operations, and separate but commonly maintained

accounting systems, all maintained at a joint corporate headquarters.

5.     BIYA, Natural Resource and Diversified enjoy the benefit of no significant major secured

creditor or secured debt but there are litigation matters, an arbitration award/ judgement and

unsecured claims. Prior to these filings the management of the Debtors developed an operational and

drilling program designed to maximize the Debtors’ New Mexico assets and to increase production

from a current level of approximately 1500 barrels per month to a future goal of over 1800 barrels a

month or more, depending upon capital funding. This plan is dependent upon the unfettered access

to current production revenues and through either self-funding or capital or loans future development

funds being available to the Debtors. Unfortunately, the litigation costs, a recent drop in commodity

prices, a dispute with the Ute Mountain Ute Indian Tribe over access and environmental issue, and

general uncertainties and uneasiness of potential lenders or investors caused by such matters has put

a chill upon the Debtors ability to raise funds or sell assets outside of the protections and tools of

Chapter 11.



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6.             The Debtors intend to quickly file a Joint Plan of Reorganization that, it is anticipated

at this time, will provided for a two-pronged approach. First the Plan will likely propose the sale of

100% of the stock of BIYA to a third party company, the assumption of current environmental

liabilities up to a cap to be negotiated between the parties or as determined by this Court, the

possible assumption and assignment of the oil and gas leases of the Debtors, (subject to the buyers’

right to exclude certain leases or assets), a commitment of capital to be used by the purchaser to

implement and bring into production the Debtors’ current development plan for its New Mexico and

Ute Indiana Mountain Reservation assets, and potentially a new value cash contribution from current

shareholders who wish to retain their equity interests. The Debtors hope to further negotiate a carve

out for unsecured creditors of both Diversified and BIYA as part of the sale of assets.

7.     The second path, admittedly more challenging is to retain the assets within the BIYA entity

and to either self- fund or more likely attract new capital to implement the drilling program, but only

after a cap on current environmental liabilities and clean up obligations is negotiated between the

parties or as determined by this Court.

8.     The financial issues and possible solutions facing Diversified Resources Inc., Natural

Resources and BIYA Operators Inc., are significantly inter-related. The issues that will need to be

resolved in all the Debtors’ cases will be, to a great extent, identical, although separate claims

classifications and treatment of claims for each entity will be respected and maintained.

9.     The Debtors have prepared a proposed 180-day budget for its combined and separate

operations, see Exhibit “A” attached hereto, which is both a combined budget and separate budgets

for each Debtor entity.

10.    The Debtors have wages for (4) W-2 based employees of Diversified and/or BIYA included

in their budget, Exhibit “A, which includes 5 days pf pre-petition wages for a total amount of




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$3,835.86. The Debtors seeks permission to pay this relatively small amount for pre-petition wages

as part of this Motion and the budget approval.


                                    Pre-Petition Loans – BIYA

11.     BIYA does not have secured debt in cash collateral. A UCC-1 search for BIYA in New

Mexico, its place of incorporation, shows no filings. Similarly, a UCC-1 search in Colorado where

its headquarters are located shows no filings of any kind.

12.      Upon information and belief Richard and/or Debbie Baldwin (“Baldwins”) claim a

unperfected mortgage (sic) in all the assets of BIYA by virtue of an unrecorded mortgage agreement

dated October 14, 2014, Composite Exhibit “B” hereto, along with a security interest in the shares

of BIYA stock owned by Diversified and have filed a UCC-1 in New Mexico on May 2, 2018

naming BIYA as the Debtor and claiming a lien in the stock owed by it in BIYA, see Exhibit “B”

hereto. The Baldwins claimed lien in the stock of BIYA and its assets is not properly perfected as

they have not obtained possession or control over the stock and did not record their asserted

mortgage. In any event the claimed stock lien and mortgage is not an interest in cash collateral of

either BIYA or Diversified and is not entitled to any adequate protection payments or other

protections.

13.     Mr. Randy Taber claims a royalty interest or lien (sic) in certain oil and gas leases located in

San Juan County, New Mexico but virtue of a recorded Secured Promissory Note for $350,000 dated

February 5, 2019 and recorded in San Juan County New Mexico on March 4, 2019, see Exhibit “C”

hereto. The claimed lien is a royalty interest in certain BIYA wells and is not entitled to any

adequate protection payments or other protections.

14.     The Debtors do not believe that any party claiming a lien in the assets of BIYA is entitled to

adequate protection payments or other protections other than the continuation, post-petition, of the

asserted lien or royalty interests without prejudice to the Debtors’ rights to challenge and set aside or

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void the claimed lien.

                         Pre-Petition Loans – Diversified Resources Inc.


15.     Diversified believes it has no present secured lender or secured debt of any kind but a UCC-1

Search in Nevada, its state of incorporation, reflects a UCC-1 financing statements filed by an

unknown party dated October 4, 2016 through the use of a filing agent, see Exhibit “D” filed by CT

Corporation as the agent for an undisclosed principal.

16.     Attempts to reach the filing agent by mail and e-mail have been unsuccessful and repeated

phone calls to a listed 800 number remain unanswered. The Debtors have, per the certificate of

service filed herewith, notified the filing agent of the filing of this Motion.

17.     The Baldwins hold an arbitration award now reduced to a judgment against Diversified only.

The Judgment has not been recorded and no judgment lien has been perfected prior to this filing,

they remain unsecured creditors.

18.     The Debtors do not believe that any party claiming a lien in the assets of Diversified is

entitled to adequate protection payments or other protections other than the continuation, post-

petition, of the asserted lien or royalty interests without prejudice to the Debtors’ rights to challenge

and set aside or void the claimed lien.



                         Pre-Petition Loans – NATURAL RESOURCES


19.     A UCC-1 search for this Debtor did not reveal any claimed liens and the Debtor does not

believe it has any secured creditors entitled to adequate protection payments.




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                                        Relief Requested

20.    The Debtors have submitted a combined operational budget for the next 180-day period, see

Exhibit “A” hereto. This budget provides for the payment of normal operating expense and post-

petition obligations as they may accrue, including UST quarterly fees and future professional fees.

21.    The Debtors need immediate use of its cash and accounts receivable to operate its business

and to keep its employees and contractors on the job. The cash collateral budget does include the

payment of all wages, including 5 days of pre-petition wages.

22.     The Debtor’s business depends upon uninterrupted access to funds that are held in its

accounts necessary to operate, meet payroll, and fund its other operating expenses necessary to

maintaining its ordinary course of business. The Debtor will use cash collateral to generate new

business and accounts receivables during the bankruptcy case.

23.    The Debtors are seeking Court authorization to use cash collateral in order to pay necessary

operating expenses, the Debtor must immediately use cash collateral in which secured creditors may

have an interest.

Payment of Pre-Petition Wages Not to Exceed Statutory Limit

24.    The normal payroll for the Debtors is processed every two weeks through a third-party

payroll vendor. As of the petition date the Debtors owe wages to their employees for five days.

25.    The Debtors have funds available to pay, in the ordinary course of business, its next payroll

to be made on May 15, 2019. As part of that payroll the 5 days of pre-petition wages or

approximately $3,835.86 will be paid out to the employees. None of the amounts to be paid for pre-

petition wages exceeds the sum of $12,850.00 to any one employee. The employees to be paid

include management and officers of the Debtors.




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26.    It is important if not critical to the Debtors that employees are paid in the ordinary curse and

that the continuity of the work force and management is preserved. While no employee has yet

threatened to leave if not paid, the Debtors wish to avoid any disruption in its workforce and to

maintain employee morale and attitude.

27.    The payment of approximately $3,835.86 in pre-petition wages will not impair or impeded

the Debtors ability to jointly reorganize and will not harm or prejudice any creditor or party in

interest, to the contrary to payment is intended to preserve e and protect those rights and interests.

Request to reduce Notice Period to Ten Days and Set Hearing prior to May 15, 2019

28.      The Debtors were able to make their customary payroll prior to the chapter 11 filings on

April 29, 2019. The next payroll date in May 15, 2019. The Debtors desire that this matter be

heard on an expedited basis such that the normal payroll on May 15, 2019 might be made.

29.    No party or creditor will be harmed by the reduction of the notice period to ten days.

                                          CONCLUSION

       WHEREFORE, the Debtor respectfully requests that the Court enter an Order, a proposed

form is filed herewith, reducing the notice period to ten days and setting an expedited hearing to

consider the above detailed motion, and for such further and additional relief as to the Court may

appear proper.

DATED this 2nd day of May 2019                 Respectfully submitted,

                                                       BUECHLER LAW OFFICES LLC

                                                       /s/ Michael J. Guyerson
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